Entered: August 07, 2012       Case 10-37371               Doc 530      Filed 08/07/12           Page 1 of 2
Signed: August 06, 2012

SO ORDERED




                                             IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE DISTRICT OF MARYLAND
                                                             (Greenbelt Division)

                    In re:                                               )   Chapter 11
                                                                         )
                    KH FUNDING CO.,                                      )   Case No. 10-37371 (TJC)
                                                 Debtor.                 )
                                                                         )


                          FOURTH INTERIM AND FINAL APPLICATION OF PACHULSKI STANG
                         ZIEHL & JONES LLP, AS COUNSEL TO THE OFFICIAL COMMITTEE OF
                        UNSECURED CREDITORS, FOR ALLOWANCE OF COMPENSATION FOR
                             SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
                      INCURRED FOR THE PERIOD FEBRUARY 1, 2012 THROUGH MAY 1, 2012 AND
                        FOR FINAL ALLOWANCE OF PREVIOUSLY ALLOWED FEES AND COSTS

                             Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), as counsel to the Official

                    Committee of Unsecured Creditors (the “Committee”) of KH Funding Co., the above-captioned

                    debtor and debtor-in-possession (the “Debtor”), files its Fourth Interim and Final Application for

                    Allowance of Compensation for Services Rendered and Reimbursement of Expenses Incurred for

                    the period February 1, 2012 through May 1, 2012 (the “Fourth Application Period”) and for Final

                    Allowance of Previously Allowed Fees and Costs (the “Application”), pursuant to §§ 327, 330 and

                    331 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Fed. R. Bankr. P. 2016. PSZ&J

                    seeks approval of compensation in the amount of $327,507.00 (after voluntary reductions in the

                    exercise of billing discretion) and reimbursement for out-of-pocket expenses in the amount of

                    $2,782.01 for this Fourth Application Period and final allowance of all previously awarded fees and

                    expenses (including the Fourth Application Period), and in support thereof states as follows:




                    DOCS_DE:180665.1 14953-001
Case 10-37371   Doc 530   Filed 08/07/12   Page 2 of 2
